Cas# 2:20-cv-02894-E Document 19 Filed 10/13/20 Pagelof2 Page ID#:41
Cage 2:20-cv-02894

—

  
  
  

      
   

  
 
  

FILED

DISTRICT COURT

CT

    
 

 

2 CLERK, US.
3
4 [DISTRICT OF ae OY \
5
6
z
8
9 UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA
11
D ANN KATHRYN MODLIN, ) Case No.: 2:20-cv-02894-E
)
Plaintiff, ) {PROPSSED} ORDER AWARDING
13 ) EQUAL ACCESS TO JUSTICE ACT
VS. ) ATTORNEY FEES AND EXPENSES
14 ) PURSUANT TO 28 U.S.C. § 2412(d)
ANDREW SAUL, ) AND COSTS PURSUANT TO 28
15 || Commissioner of Social Security, U.S.C. § 1920
16 Defendant )
17
is Based upon the parties’ Stipulation for the Award and Payment of Equal
19

Access to Justice Act Fees, Costs, and Expenses:

N
=)

IT IS ORDERED that fees and expenses in the amount of $1,200.00 as

N
—

authorized by 28 U.S.C. § 2412, and costs in the amount of $400.00 as authorized

N
N

by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.

DATE: 47/3 25

NO N
kk WwW

THE HONORABLE CHARLES F. EICK
UNITED STATES MAGISTRATE JUDGE

NO WN
N WN

 

 

 
So ON HN A FP W WN

NO NO NO NO NO NO NO Re mee ee eee ee ee
Nn A FPF Ww NY FK& DO OW NN WDB WH BP WO WN KF OC

 

 

 

H 2:20-cv-02894-E Document 19 Filed 10/13/20 Page 2of2 Page ID #:42
P 2:20-cv-02894-E F ee 30
Respectfully submitted,

LAW OFFICES OF LAWRENCE D. ROHLFING
/s/ Youug (Cho
Young Cho
Attorney for plaintiff Ann Kathryn Modlin
of

 
